                                  Figure 1. Map of IPHC Regulatory Areas




                                      (Reproduced from NOAA018720)

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                  Figure 2. Projected Halibut Spawning Stock Biomass (IPHC Stock Assessment, 2020)




                                          (Reproduced from NOAA0038861)



1
 More recent IPHC stock assessments predict halibut populations will remain at low levels at least the next three years.
Compare ECF 10-3, p. 10 (Figure 2).
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                    Figure 3. Halibut Bycatch Mortality in the BSAI by Sector (metric tons)




                                       (Reproduced from NOAA000321)




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                 Figure 4. Trend in A80 Bycatch Mortality in Area 4CDE as Proportion of BSAI




                                      (Reproduced From NOAA000319)




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        Figure 5. Cumulative Number of Halibut Removed in Area 4CDE — Bycatch vs. Directed Fishery




                                      (Reproduced from NOAA000324)




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                       Figure 6. Halibut Bycatch Morality vs. Directed Fishery Landings




                                       (Reproduced from NOAA037059)

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              Figure 7. Number of Vessels in the Area 4 Halibut Fishery by Vessel Class, 2010-2019




                                           (Reproduced from NOAA003235)




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                           Figure 8. Collapse of Small-Boat Halibut Fishery in Area 4




                                       (Reproduced from NOAA003236)


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                                 Figure 9. A123 Bycatch Limits vs. Actual A80 Bycatch




                                           (Reproduced from NOAA000331)
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